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                                                                             DATE FILED: 09/21/2022
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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 DONGGUAN FENGSHANG INDUSTRIAL CO. :
 LTD,                                                           :
                                                                :
                                              Plaintiff,        :
                                                                : 22-CV-6275 (VEC)
                            -against-                           :
                                                                :     ORDER
                                                                :
                                                                :
 SOHO PARTNERS GROUP LLC, MICHAEL                               :
 FASHION CONSULTING LLC, RINGERJEANS :
 LLC, and CHARLES AZRAK                                         :
                                                                :
                                              Defendants. :
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VALERIE CAPRONI, United States District Judge:

       WHEREAS on July 25, 2022, Plaintiff filed its Complaint, Dkt. 1;

       WHEREAS on August 13, 2022, Plaintiff filed an Amended Complaint, Dkt. 15;

       WHEREAS on September 16, 2022, Plaintiff requested a certificate of default from the

Clerk of Court, Dkt. 27;

       WHEREAS on September 16, 2022, the Clerk of Court notified Plaintiff that its request

was deficient because it failed to provide adequate proof of service; and

       WHEREAS an Initial Pre-Trial Conference is currently scheduled for Friday, September

23, 2022, at 10 A.M., Dkt. 14;

       IT IS HEREBY ORDERED that the Initial Pre-Trial Conference is adjourned until

Friday, October 28, 2022, at 10 A.M. to allow Plaintiff time to address its service deficiencies.

       IT IS FURTHER ORDERED that pursuant to Federal Rule of Civil Procedure 4(m), if

Plaintiff does not adequately serve Defendants “within 90 days after the complaint [was] filed”

or show “good cause” for its failure to meet this deadline, the Court will dismiss the action
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without prejudice. Plaintiff must therefore file adequate proof of service or show good cause for

its failure to do so by not later than Monday, October 24, 2022.



SO ORDERED.
                                                         ________________________
                                                         ____________________  ______
                                                                                _
Date: September 21, 2022                                       VALERIE CAPRONI
                                                                           CAPRP ONI
      New York, New York                                  United States District Judge
